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 Dennis W. King, Esq.
 Eric Seeleman, Esq.
 DEELEY KING PANG & VAN ETTEN
 Pauahi Tower
 1003 Bishop Street, Suite 1550
 Honolulu, Hawaii 96813
 Telephone: (808) 533-1751
 Facsimile: (808) 599-2908

 Matthew J. Faust, Cal State Bar No. 254145
 Admitted Pro Hac Vice
 SHARIF | FAUST LAWYERS, LTD.
 110 West A Street, Suite 1100
 San Diego, CA 92101
 Telephone: (619) 233-6600
 Facsimile: (619) 233-6602

 Attorneys for Defendants
 Dragon Media, Inc. d/b/a Dragon Box
 and Paul Christoforo

                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAII

                                            )
 ME2 Productions, Inc., and                 )   Case No.: 1:17-cv-00320-JMS-RLP
                                            )   (Copyright)
 Venice PI, LLC,                            )
                                            )   DEFENDANTS DRAGON MEDIA, INC.
                    Plaintiff,              )   AND PAUL CHRISTOFORO’S MOTION
                                            )   TO DISMISS THE FOURTH AMENDED
       vs.                                  )   COMPLAINT; OR, IN THE
                                            )   ALTERNATIVE, TO CHANGE VENUE
 Dragon Media, Inc., et al.                 )   TO SOUTHERN DISTRICT COURT OF
                                            )   CALIFORNIA
                                            )
                   Defendants.              )
                                            )
                                            )
                                            )
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                                  INTRODUCTION

        Defendants, Dragon Media, Inc. (“Dragon Media”) and Paul Christoforo

 (“Defendant Christoforo”)(“collectively “Dragon Defendants”) respectfully submit this

 Memorandum of Points and Authorities in support of their Motion to Dismiss the Fourth

 Amended Complaint (the “Motion”). Dragon Defendants request this Court for an

 Order dismissing the Fourth Amended Complaint pursuant to Rule 12(b)(2) of the

 Federal Rules of Civil Procedure due to a lack of personal jurisdiction over the Dragon

 Defendants, and Rule 12(b)(3) of the Federal Rules of Civil Procedure for improper

 venue. However, if the Court is not inclined to dismiss the Fourth Amended Complaint,

 it should transfer the case to the Southern District Court of California, a more

 convenient venue, pursuant to 28 U.S.C. section 1404.




                    FACTUAL AND PROCEDURAL BACKGROUND

        On July 9, 2017, Plaintiff ME2 Productions, Inc. (“Plaintiff ME2”), brought this

action against twenty unknown Doe defendants, alleging that they had installed and used

BitTorrent software to download and distribute Plaintiff ME2’s copyrighted work. [Doc.

1.] After conducting third party discovery to learn the identity of the Doe defendants,

Plaintiff ME2 dismissed all but the second Doe Defendant. [Doc. 19, 24, 25, 26, 27.]

        On November 22, 2017, Plaintiff ME2 filed a First Amended Complaint, joining


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Plaintiff Venice PI, LLC (“Plaintiff Venice”) and alleging claims for copyright

infringement solely against the second Doe Defendant, now identified as Jeb Balubar

(“Defendant Balubar”). [Doc. 28.] On December 12, 2017, Plaintiffs filed the Second

Amended Complaint, amending to correct the legal name of Defendant Balubar. [Doc.

34, 35.]

           On January 17, 2017, Plaintiffs filed a Third Amended Complaint, alleging (1)

contributory copyright infringement based upon inducement and (2) contributory

copyright infringement based upon material contribution for the first time against newly-

joined Dragon Defendants [Doc. 37, 38.] On February 9, 2018, Plaintiffs dismissed

without prejudice their claims against Defendant Balubar. [Doc. 45.] Thereafter, Dragon

Defendants filed a Motion to Dismiss the Third Amended Complaint on February 14,

2018. [Doc. 48.] On March 12, 2018, Plaintiffs filed a Motion for Leave to File the Fourth

Amended Complaint, asserting that it may moot the pending Motion to Dismiss [Doc.

61.]

           On March 19, 2018, the Court vacated the hearing and related briefing deadlines

for the Motion to Dismiss the Third Amended Complaint, filed by Dragon Defendants,

pending the Court’s ruling on Plaintiffs’ Motion for Leave to File Fourth Amended

Complaint. [Doc. 66, 78.] On April 18, 2018, the Court granted the Motion for Leave to

File the Fourth Amended Complaint, thus the Motion to Dismiss was “denied as moot

and without prejudice to refiling a new motion based on the Fourth Amended Complaint.”


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[Doc. 77, 78.](emphasis added.)

        Now, in less than seven weeks after the Court denied the initial Motion to Dismiss

as moot, and without ruling on its merits, Dragon Defendants bring this Motion on

grounds that were not raised in the initial Motion to Dismiss, because these defenses were

not available to Dragon Defendants at the time. In light of all these factors, Dragon

Defendants request the Court to dismiss the case due to improper venue and lack of

personal jurisdiction. In the alternative, the Court should transfer the case to the Southern

District Court of California, a more convenient forum for all Parties to the case.




                                          ARGUMENT

        The Court should dismiss the Case because it lacks personal jurisdiction over

 Dragon Defendants and venue is improper. The Court should consider said defenses,

 because these defenses were not available to Dragon Defendants at the time they filed

 the Initial Motion to Dismiss, and also because the Court did not rule on the merits of

 the Initial Motion to Dismiss and dismissed it as moot and without prejudice to Dragon

 Defendants to file a new one. In the alternative, if the Court does not agree that the

 defenses at issue were not available to Dragon Defendants at the time the Initial Motion

 to Dismiss was filed, the Court should grant relief under Rule 60(b)(1) and Rule

 60(b)(6).


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        Venue and personal jurisdiction is improper in this District because there is no

 basis for the Court to exercise general or specific personal jurisdiction over Dragon

 Defendants. Furthermore, the relationship between Dragon Media and Defendants

 Nainoa and Barnhart was simply that of a vendor and a vendee, and as such, the location

 and residence of those two defendants does not determine the propriety of venue and

 personal jurisdiction as to Dragon Defendants. Hence, the Court should dismiss the case

 as against Dragon Defendants for lack of personal jurisdiction and venue.

        In the alternative, the Court should transfer the case to the Southern District Court

 of California, a more convenient forum for all Parties to the case.




 I.     THE COURT SHOULD DISMISS THE CASE BECAUSE IT LACKS
        PERSONAL JURISDICTION OVER DRAGON DEFENDANTS AND
        THE VENUE IS IMPROPER

        The Court should dismiss the case under Rules 12(b)(2) and 12(b)(3) of the

Federal Rules of Civil Procedure because Dragon Defendants’ conduct does not satisfy

the requirements for the exercise of personal jurisdiction over them. A defendant may

bring a motion to dismiss alleging a lack of personal jurisdiction under Rule 12(b)(2) of

the Federal Rules of Civil Procedure, and improper venue under Rule 12(b)(3). A motion

to dismiss for improper venue which is based on the enforcement of a forum selection

clause is also governed by Rule 12(b)(3). Doe v. Network Solutions, LLC, 2008 U.S.

Dist. LEXIS 7397, *11 (Cal. N. D. 2008). Here, Plaintiffs cannot establish that venue

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properly lies as to each of Dragon Defendants as well as each claim. L.A. Gem & Jewelry

Design, Inc. v. Ecommerce Innovations, LLC, 2017 U.S. Dist. LEXIS 64115, *5 (Cal. C.

D. 2017).    Likewise, the Court cannot exercise personal jurisdiction over Dragon

Defendants. Thus, for the reasons discussed blow, the Court should dismiss the case as

to Dragon Defendants.



        A.    The Court Should Consider Dragon Defendants’ Venue and
              Jurisdiction Defense

        It is expected that Plaintiffs will argue that Dragon Defendants have waived their

defenses under Rules 12(b)(2) and 12(b)(3) because they did not raise the defenses in

their initial Motion to Dismiss the Third Amended Complaint (the “Initial Motion to

Dismiss”). Rule 12(g)(1) provides that once a defendant makes a motion under Rule

12(b), the defendant “must not make another motion under this rule raising a defense or

objection that was available to the party but omitted from its earlier motion.” However,

in light of the particular procedural facts of this case, the Court should exercise its

discretion by considering the defenses at issue.



              1.     The Initial Motion to Dismiss was not Ruled on its Merits

        Considering that Dragon Defendants were served with the Summons and the

 Third Amended Complaint only four months ago, on January 23, 2018, there is no


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 prejudice whatsoever to allow them to raise the defenses at issue at this time. Notably,

 although Dragon Defendants filed the Initial Motion to Dismiss, on February 14, 2018,

 it was never considered by the Court on its merits. Nearly six weeks before filing of the

 instant Motion, the Court granted Plaintiffs’ Motion for Leave to File the Fourth

 Amended Complaint, thus denying the Initial Motion to Dismiss “as moot and without

 prejudice to refiling a new motion based on the Fourth Amended Complaint.”(emphasis

 added.) Accordingly, the Court should consider the defenses at issue.



              2.     The Defenses at Issue Were not Available at the Time of Filing of
                     the Initial Motion to Dismiss

        The Fourth Amended Complaint is so substantially different from the Third

Amended Complaint that Dragon Defendants should be allowed to raise the defenses at

issue. The Fourth Amended Complaint dismissed Defendant Balubar and instead added

two new defendants, Defendant Nainoa and Defendant Barnhart. Due to their joinder,

Dragon Defendants now have a venue and jurisdiction argument that was not previously

available to them: Although Defendants Nainoa and Barnhart appear to be residents of

this District, their Reseller Agreements with Defendant Dragon Media includes a Forum

Selection Clause which indicates they are governed by the laws of the State of California.

The Fourth Amended Complaint has also omitted the two causes of action present in the

Third Amended Complaint, and instead alleges new claims for (1) alter ego; (2)

contributory copyright infringement based upon inducement; and (3) contributory
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copyright infringement based upon material contribution. As discussed below, Plaintiffs

cannot show that venue and jurisdiction is proper as to the new causes of action against

Dragon Defendants. The defenses at issue were not available to Dragon Defendants when

they made the Initial Motion to Dismiss, and thus, the Court should consider them.



               3.    In the Alternative, the Court Should Relieve Dragon Defendants
                     Under Rule 60 (b)

        In the alternative, if the Court does not agree that the defenses at issue were not

available to Dragon Defendants at the time the Initial Motion to Dismiss was filed,

it should grant a relief from this order under Rule 60(b)(1) and Rule 60 (b)(6). Any failure

on Dragon Defendants’ part to raise the defenses at issue in the initial Motion to Dismiss

was due to their former counsel’s mistake, inadvertence, and excusable neglect.

Considering that only four months has passed since Dragon Defendants were joined as

parties, that the Court did not rule on the merits of the Motion to Dismiss six weeks ago—

but rather denied it as moot and without prejudice to Dragon Defendants to refile it— and

that no discovery has been conducted since Dragon Defendants joined the case, there is

no prejudice against any party to this case and no waste of judicial resources, if the Court

relieves Dragon Defendants from the order. Accordingly, the Court should exercise its

discretion by considering Dragon Defendants’ defenses as discussed below.

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        B.     Venue and Personal Jurisdiction is not Proper in this Case

        Venue and Personal Jurisdiction is not proper as to Dragon Defendants. In most

cases, venue can be laid pursuant to the general venue statute, 28 U.S. C. section 1391.

However, venue in copyright infringement actions is governed by 28 USC section 1400

(a) which provides “[c]ivil actions, suits, or proceedings arising under any Act of relating

to copyrights . . . may be instituted in the district in which the defendant or his agent

resides or may be found.” (Emphasis added.) A corporation is deemed to reside in a

judicial district in which it is subject to the court’s personal jurisdiction with respect to

the case at issue. 28 U. S. C. § 1391(c)(2). The Ninth Circuit has interpreted this

provision to allow venue “in any judicial district in which the defendant would be

amenable to personal jurisdiction if the district were a separate state.” Brayton Purcell

LLP v. Recordon & Recordon, 606 F.3d 1124, 1128 (9th Cir. 2010)(emphasis added);

See Goldberg v. Cameron, 482 F. Supp. 2d 1136, 1143 (Cal. N. D. 2007)(“The venue of

suits for infringement of copyright is not determined by the general provision governing

suits in the federal district courts, rather by the venue provision of the Copyright Act.”)

The courts utilize the same procedures to decide if venue is proper as they do to rule on

a motion to dismiss for lack of personal jurisdiction. Goldberg v. Cameron, 482 F. Supp.

2d at 1143 (citation omitted.)

        In the present case, Dragon Defendants did not have the capacity to control the

remaining Defendants’ conduct, because Defendants Nainoa and Barnhart are not officers

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or agents of Dragon Defendants. The relationship between Dragon Media and Defendants

Nainoa and Barnhart was simply that of a vendor and a vendee governed by reseller

agreements. Thus, given that the location and residence of Defendants Nainoa and

Barnhart does not determine the propriety of venue and personal jurisdiction as to Dragon

Defendants, only the district in which each Dragon Defendant is subject to personal

jurisdiction is determinative of the issue. Dragon Defendants’ analysis below is to show

both impropriety of venue as well as this Court’s lack of personal jurisdiction over them.



               1.     There is no Basis for the Court to Exercise General Personal
                      Jurisdiction

        This is not a proper case for assertion of general personal jurisdiction. General

personal jurisdiction properly lies in a case where the defendant’s activities in the state

are “substantial” or “continuous and systematic” that “approximate physical presence

in the forum state.” Microsoft Corp. v. Academic Software HQ Inc., 2017 U.S. Dist.

LEXIS 82423, *7-8 (Cal. S. D. 2017) quoting Schwarzenegger v. Fred Martin Motor Co.,

374 F.3d 797, 801 (9th Cir. Cal. 2004). The factors that courts should consider in

determining whether general jurisdiction exists include “whether the defendant makes,

sales, solicits or engages in business in the state, serves the state’s markets, designates an

agent for service of process, holds a license, or is incorporated there.” Microsoft Corp.,

2017 U.S. Dist. LEXIS 82423 *8 quoting Bancroft & Masters, Inc. v. Augusta Nat'l Inc.,



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223 F.3d 1082, 1086 (9th Cir. Cal. 2000). General jurisdiction does not exist if there is

no showing of pervasive contacts. Goldberg v. Cameron, 482 F. Supp. 2d at 1144.

        As Defendant Christoforo has stated in his declaration, Dragon Media’s sole

office is located in the Southern District of California and he himself also resides in that

district. (Declaration of Paul Christoforo (“Christoforo Decl.”) ¶ 3); (Compl. ¶ 17.)

Dragon Defendants have never held a license or been registered to conduct any business

within this District, nor have they ever designated any agent for service of process in

this District. Id. ¶ 6. Dragon Defendants have never travelled to this District for any

express business-related purposes. Id. ¶ 3. They have never owned or leased any offices

or any properties for business purpose in this District, nor have they ever had any bank

accounts herein. Id. ¶¶ 3, 7. They have never had any employees, contractors, or officers

in this District. Id. ¶ 5. Thus, Dragon Defendants are not subject to general personal

jurisdiction of this Court.




               2.    There is no Basis for the Court to Exercise Specific Personal
                     Jurisdiction

        This is not a proper case for assertion of specific personal jurisdiction either. A

court may exercise specific personal jurisdiction depending on “the nature and quality

of the defendant’s contacts in relation to the cause of action.” Wine Bottle Recycling,

LLC v. Niagara Sys. LLC, 2013 U.S. Dist. LEXIS 37273, *13 (Cal. N. D. 2013) quoting


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Data Disc, Inc. v. Systems Technology Associates, Inc., 557 F.2d 1280, 1287 (9th Cir.

Cal. 1977). In the absence of general personal jurisdiction, the court may exercise specific

jurisdiction if the following three-part test employed by the Ninth Circuit is met (1) “the

defendant purposefully directed its activities at residents of the forum, (2) . . . the claim

arises out of or relates to those activities, and (3) . . . assertion of personal jurisdiction is

reasonable and fair.” E. digital Corp. v. FNJ Storage, Inc., 2015 U.S. Dist. LEXIS

181278, *5 (Cal. S. D. 2015); See L.A. Gem & Jewelry Design, Inc., 2017 U.S. Dist.

LEXIS 64115, *18-19. Notably, the Supreme Court has held as follows:

        [P]laintiff cannot be the only link between the defendant and the forum.
        Rather, it is the defendant's conduct that must form the necessary
        connection with the forum State that is the basis for its jurisdiction over
        him . . . But a defendant’s relationship with a plaintiff or third party,
        standing alone, id an insufficient basis for jurisdiction . . . Due process
        requires that a defendant be haled into court in a forum State based on
        his own affiliation with the State, not based on the 'random, fortuitous, or
        attenuated' contacts he makes by interacting with other persons affiliated
        with the State.

Walden v. Fiore, 134 S. Ct. 1115, 1122-1123 (2016)(citations and quotations omitted).

Here, Defendants lack the “minimal contacts” with the District that are a prerequisite for

it to exercise personal jurisdiction over Defendants.



               a.     Purposeful Direction Analysis Does not Result in Finding of
                      Personal Jurisdiction
        Under the first prong, given that a purposeful availment analysis is used in

contract cases, and a purposeful direction analysis is utilized in lawsuit sounding in tort,

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and that a claim for copyright infringement sounds in tort, thus, a purposeful direction

analysis is appropriate in this case. Goldberg v. Cameron, 482 F. Supp. 2d at 1144; L.A.

Gem & Jewelry Design, Inc., LLC, 2017 U.S. Dist. LEXIS 64115, *19. In doing the

purposeful direction analysis, the Court must apply the Supreme Court’s “effect test”. Id.

citing to Calder v. Jones, 465 U.S. 783 (1983). Under Calder test, the “defendant must

have (1) committed an intentional act, which was (2) expressly aimed at the forum state,

and (3) caused harm, the brunt of which is suffered and which the defendant knows is

likely to be suffered in the forum state.” Id.

        The first element of intentional conduct cannot be met here because Dragon

Defendants have not committed any intentional acts that would allegedly assist residents

of this District or the other Defendants to infringe Plaintiffs’ copyrights.      Dragon

Defendants’ relationship with the other two Defendants is only that of a vendor and a

vendee. Defendants Nainoa and Barnhart are not the officers, agents, or employees of

Dragon Defendants, and Dragon Defendants have never had any control over their

business or conduct. (Christoforo Decl. ¶ 8.) The mere fact that Dragon Media has had

attenuated contacts with Defendants Naiona and Barnhart, without any attempt on its part

to target residents of Hawaii, does not constitute a sufficient basis for this Court to

exercise jurisdiction over Dragon Defendants.

        As to the second element, “[t]he Ninth Circuit has emphasized that something

more than mere foreseeability is required in order to justify the assertion of personal


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jurisdiction and that something more means conduct expressly aimed at the forum.”

(quotation and internal formatting omitted.) DFSB Kollective Co., Ltd. v. Bing Yang,

2013 U.S. Dist. LEXIS 46096, *13 (Cal. N. D. 2013). Dragon Defendants have had no

contacts and have conducted no business with Plaintiffs—who themselves are not

residents of this District. Dragon Defendants have not reached out to the residents of this

District for business, and the Reseller Agreements executed between Dragon Defendants

and the other Defendants does not show any conduct expressly aimed at this District. In

fact, the Reseller Agreements contain a Forum Selection Clause to the effect that the

Agreements are governed by the laws of the State of California. Thus, Dragon Defendants

have had no conducts expressly aimed at the forum, or any conduct whatsoever that would

lead them to reasonably expect to be haled into this Court.

        As to the third part of the test, it must be shown that “Defendants’ conduct caused

harm that they knew was likely to be suffered in the forum.” DFSB Kollective Co., Ltd.,

2013 U.S. Dist. LEXIS 46096, *19. (citations and quotations omitted). Based on the

foregoing facts there was no reason for Dragon Defendants to expect that Plaintiffs’

copyrights at issue would allegedly be infringed by residents in this District. Considering

the location of Plaintiffs’ principal places of business, any harm—including financial

harms— should have reasonably been expected to be suffered in the States of California

and Nevada.

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               b.    Plaintiffs’ Claims Do not Arise Out of Defendants’ Activities

        The second prong of the analysis is satisfied if it is shown that “the plaintiff would

not have been injured but for the defendant’s conduct directed toward the forum.”

Autodesk, Inc. v. Kobayashi + Zedda Architects Ltd., 191 F. Supp. 3d 1007, 1018 (Cal.

N. D. 2016). This Circuit has recognized that in an action for copyright infringement, if

defendants’ infringing conducts harms the plaintiffs in the forum, the second prong of the

analysis is satisfied. Id. Dragon Defendants have committed no infringing acts and the

mere execution of the Reseller Agreements with the remaining Defendants does not

satisfy this element. Dragon Defendants had no control over the allegedly infringing

conduct of the remaining Defendants or the residents in this District, including any of the

alleged advertisements made by the remaining Defendants. Notably, the Dragon Box

device at issue that Plaintiffs claim to have caused the infringements in this District is

nothing more than another equipment such as a computer, internet, and DVD ROM Drive

which can be used for lawful purposes or for unlawful purposes by their owners.



               c.    Assertion of Personal Jurisdiction is not Fair and Reasonable

        If the Plaintiff fails to meet its burden in establishing either prong one or two, the

“jurisdictional inquiry ends and the case must be dismissed.” L.A. Gem & Jewelry Design,

Inc., LLC, 2017 U.S. Dist. LEXIS 64115, *19 (quotation omitted.) However, if the other

prongs are satisfied, the Court should not exercise personal jurisdiction, if the Defendants
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show compelling considerations that would render personal jurisdiction unreasonable.

The Court may consider any of the followings:

         (1) the extent of a defendant's purposeful interjection; (2) the burden on the
        defendant in defending in the forum; (3) the extent of conflict with the
        sovereignty of the defendant's state; (4) the forum state's interest in
        adjudicating the dispute; (5) the most efficient judicial resolution of the
        controversy; (6) the importance of the forum to the plaintiff's interest in
        convenient and effective relief; and (7) the existence of an alternative forum.


Autodesk, Inc., 191 F. Supp. 3d 1007 at 1018. In light of all these factors, the Court

should dismiss the case. This case should have been brought in either Central or Southern

District of California where Dragon Defendants and Plaintiff Venice are located. Further,

both Defendants Nainoa and Barnhart had agreed that the Seller Agreements would

subject them to the laws of the State of California. Plaintiff ME2 is located in the State

of Nevada, a neighboring state to California. Thus, it cannot be argued that this forum is

so important to the Plaintiffs’ interest in convenient and effective relief that this case

should be resolved here and not in California. Considering that Plaintiffs and Dragon

Defendants are not residents of this District, and in light of the existing Forum Selection

Clause, this District does not have a high interest in adjudicating this case. In light of all

foregoing facts, it is not fair nor reasonable for this Court to exercise jurisdiction over

Dragon Defendants. Accordingly, the Court should dismiss the case.

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II.     ALTERNATIVELY, THE COURT SHOULD TRANSFER THIS ACTION
        TO THE SOUTHERN DISTRICT COURT OF CALIFORNIA WHICH IS
        A MORE CONVENIENT VENUE

        Pursuant to 28 U.S.C. section 1404(a), “[f]or the convenience of the parties and

witnesses, in the interest of justice, a district court may transfer any civil action to any

other district or division where it might have been brought.” A district court has discretion

to rule on motions for transfer “on a case-by-case basis, considering factors of

convenience and fairness.” Wellens v. Daiichi Sankyo Co., 2013 U.S. Dist. LEXIS 89831,

*3-4 (Cal. N. D. 2013). A prerequisite under section 1404(a) is that venue is proper in the

transferee district. Once it is established that the action could have been brought in the

transferee district, the court then may consider any of the following public and private

interest factors in determining whether to transfer the action to that venue:

        (1) the plaintiff's choice of forum; (2) convenience of the parties; (3)
        convenience of the witnesses; (4) relative ease of access to the evidence; (5)
        familiarity of each forum with the applicable law; (6) feasibility of
        consolidation with other claims; (7) any local interest in the controversy; and
        (8) the relative court congestion and time to trial in each forum.


Wellens, 2013 U.S. Dist. LEXIS 89831, *3-4. As discussed below, the venue is proper in

the Southern District of California, and all factors heavily weigh in favor of the transfer.

Accordingly, the Court should grant the Motion.

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        A.     Plaintiff Could Have Brought This Case in the Southern District
               Court of California

        This inquiry requires this Court to transfer this Action to the Southern District

Court of California. The Court should consider whether venue and personal jurisdiction

are both proper in the transferee district. In the interest of judicial economy, Dragon

Defendants refer the Court to the preceding sections for a thorough explanation of the

applicable law to the issues of proper venue and personal jurisdiction. Venue properly

lies in the Southern District of California because Defendants either reside or are found

in that district. For the purpose of venue, a defendant is found in a district in which it is

subject to personal jurisdiction of that forum. Considering that Defendant Christoforo

resides in the Southern District of California and that Dragon Media is an incorporated

corporation therein, they are both subject to the proper personal jurisdiction in that

district. Given that both remaining Defendants have consented to the jurisdiction of

California by agreeing to the Forum Selection Clause in their Seller Agreements, and that

they both reached out to Dragon Defendants located in the Southern District of California,

that forum is proper. Accordingly, this case could have properly been brought in the

Southern District Court of California.



        B.     Plaintiff’s Choice of Forum is Not Entitled to Deference

        Plaintiffs’ choice of forum is not entitled to a great deference in this case.


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Plaintiff’s choice of forum should be given greater weight “when a plaintiff chooses to

sue in its home state.” Gresser v. Wells Fargo Bank, 2012 U.S. Dist. LEXIS 44074, *11

(Cal N. D. 2012). “[w]hen the home forum has been chosen, it is reasonable to assume

the choice is convenient. . . .’” Joon Park v. Cas Enters., 2008 U.S. Dist. LEXIS 127108,

*4 (Cal. S. D. 2008) quoting Piper Aircraft v. Reyno, 454 U.S. 235, 255, 102 S. Ct. 252,

70 L. Ed. 2d 419, 255-256 (1981). Likewise, a plaintiff’s choice of forum should “be

given considerably less weight”, when it chooses a district other than one in which it

resides. Id. *11-12 quoting Strigliabotti v. Franklin Res., Inc., 2004 WL 2254556 *3

(N.D. Cal. 2004). In the present case, Plaintiffs have not sued in their home states; thus,

their choice of forum is not entitled to a great deference.



        C.     The Southern District of California is More Convenient For the
               Parties and the Witnesses

        Although initial disclosures have yet to be conducted in this case, it is expected

that most Parties and their witnesses are located in the Southern District Court of

California, or at locations with great proximity to that district. Dragon Defendants are

both located in the Southern District of California. Plaintiff Venice is located in California

within a few driving hours of the Southern District of California. Furthermore, by

entering into an agreement with the residents of Southern District of California and

consenting to the Forum Selection Clause, Defendants Naoina and Barnhart have already


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forseen being haled into that District Court. Additionally, Plaintiff ME2 Productions is in

Nevada which is a neighboring state to California, and thus, travelling to California

should be easier and less costly than to Hawaii.



          D.    The Ease of Access to Evidence Favors the Transfer

         As to the documents that either party may decide to use, this factor favors

transfer. Generally, the “ease of access to documents does not weigh heavily in the

transfer analysis, given that advances in technology have made it easy for documents to

be transferred to different locations.” Metz v. United States Life Ins. Co., 674 F. Supp.

2d 1141, 1149 (Cal. C. D. 2009). Nevertheless, the Court should consider that most

parties and their documents are located in, or in a great proximity, to the Southern District

of California. Thus, the ease of access to evidence favors the transferee district, or at the

very least, it is a neutral factor.



         E.    The Southern District Court of California Has a Strong Local Interest
               in this Case

         The Southern District Court of California has a “local interest in having localized

 controversies decided at home.” Decker Coal Co. v. Commonwealth Edison Co., 805

 F.2d 834, 843 (1986). Specifically, that district has a strong local interest in the

 controversy that revolves around a device made and sold allegedly by one of its residents,

 the Dragon Box device, as well as the relationship between the Defendants governed by
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 the laws of California. Accordingly, the Southern District Court of California is the

 appropriate venue to adjudicate the case.




                                        CONCLUSION

        For the foregoing reasons, Dragon Defendants request the Court to dismiss the

 Fourth Amended Complaint, or alternatively, to transfer it to the Southern District

 Court of California.




                                                  SHARIF | FAUST LAWYERS, LTD.

  Dated: June 4, 2018                    BY:               /s/ Matthew J. Faust
                                                             Matthew J. Faust




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